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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
       vs.                                      )                 8:09CR9
                                                )
ADRIANA GARCIA-SILVA,                           )                 ORDER
                                                )
                      Defendant.                )



       This matter is before the court on the defendant's motion to continue trial (Doc. 64)
due to the filing of a superseding indictment on May 18, 2009.

       IT IS ORDERED that the motion is granted, as follows:

       1.    The jury trial now set for May 19, 2009 is continued to June 23, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between May 19, 2009 and June 23, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time would deny the Government continuity of counsel and
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED May 18, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
